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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA ex rel.                             Civil Action No.: 1:19-cv-3581
 PAUL TERRION and JODY EBERHART, et al.,

                         Plaintiffs/Relators,                 Judge Florence Y. Pan

 v.

 POINT BLANK ENTERPRISES, INC., et al.,

                          Defendants.


                                   ENTRY OF APPEARANCE

         Please enter the appearance of Noah M. Rich as counsel for Plaintiffs/Relators Paul Terrion

and Jody Eberhart in the above-captioned matter. I certify that I am admitted to practice in this

Court.

Date: May 9, 2022                                     Respectfully submitted,




                                                      Noah M. Rich, Bar # 1033799
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2022, a copy of the foregoing Entry of Appearance was
served on all counsel of record via this Court’s CM/ECF filing system.

                                                      /s/ Noah M. Rich
                                                      Noah M. Rich
